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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
               Plaintiff,                       )
                                                )        1:12-cr-133-29 SEB-TAB
        vs.                                     )
                                                )
 JOSHUA MILLER,                                 )
                                                )
               Defendant.                       )

 ORDER DENYING DEFENDANT MILLER=S MOTION TO STRIKE SURPLUSAGE
                        (Docket No. 730)

        Defendant Joshua Miller=s Motion to Strike Surplusage from the Superseding

 Indictment1 (Dkt. No. 730) is hereby DENIED for the reasons explicated below.

        Miller is charged along with thirteen other named defendants in Count 6 of a twenty-

 six Count Indictment with the crime of conspiracy to possess with intent to distribute one

 kilogram or more of heroin, in violation of 21 U.S.C. ' 841(a)(1). Miller=s Motion to Strike is

 directed towards a single sentence in paragraph 27 of the Overt Acts.2 That paragraph

 alleges as follows:

                  On or about July 13, 2012, after a series of telephone
                  calls with JUSTIN ADDLER, BRIAN MOORE, LEEANN
                  BROCK and JOSHUA MILLER were in possession of
                  $6,000 of JUSTIN ADDLER=S money, traveling on I-65 to
                  Chicago to obtain a large quantity of heroin. During the
                  trip, MILLER noticed law enforcement agents conducting
                  surveillance and began driving erratically in an attempt to

 1
    Miller=s motion references a ASuperseding Indictment@ but the docket reflects no
 such pleading. We retain the erroneous references to Asuperseding@ in this order
 where needed for clarity between the pending motion and our order.
 2
     There are a total of twenty-eight Overt Acts alleged in Count 6.

                                               1
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                  avoid detection. MOORE subsequently threw the $6,000
                  out the window of the vehicle.

 [Indictment, p. 1 (Dkt. No. 1) (emphasis added)].

        Miller=s Motion to Strike is directed only to the underlined portion of the Superseding

 Indictment as noted above. Arguing that this language is neither relevant nor material to

 the overall conspiracy charge against him, Miller asserts that it is inflammatory and

 prejudicial because it Asuggests that [he] appears guilty based on his suspicion of being

 followed by law enforcement agents and his erratic driving that followed.@ [Memo in

 Support of Motion to Strike, p. 3 (Dkt. No. 730-1).] Miller continues, A[T]his is as [sic] over-

 reaching generalization that people who drive erratically engage in criminal acts like those

 alleged in this Indictment.@ Id.

        The Government responds that the facts alleged in Superseding Indictment,

 including the facts alleged in paragraph 27 of the Overt Acts, are based on evidence

 gathered via a court authorized intercept of telephone calls and surveillance by law

 enforcement agents. As such, this evidence goes to substantiate the conspiratorial

 involvement of each of the participants listed in paragraph 27 of the Overt Acts, and,

 accordingly, is both relevant and material and constitutes part of the Government=s proof of

 the charge at issue at trial.

        While Rule 7(d) of the Federal Rules of Criminal Procedure authorizes a trial court to

 strike surplusage from an indictment upon a defendant=s motion, the defendant seeking

 such a ruling faces a steep climb in establishing his entitlement to such relief. AA motion to

 strike surplusage from an indictment . . . should be granted only where it is clear that the

 allegations contained therein are not relevant to the charge made or contain inflammatory


                                                2
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 and prejudicial matter.@ Dranow v. United States, 307 F.2d 545, 558 (8th Cir. 1962). This

 is an Aexacting standard,@ United States v. Huppert, 917 F. 2d 507, 511 (11th Cir. 1990)

 (rev=d on other grounds), and therefore, motions to strike surplusage are Ararely granted.@

 United States v. Hedgepeth, 434 F. 3d 609, 611 (3rd Cir. 2006). Further, where the motion

 is directed towards matter that is relevant to an allegation contained in the indictment which

 the government must prove, the motion to strike is unavailing on that basis alone. A[I]f

 evidence of the allegation is admissible and relevant to the charge, then regardless of how

 prejudicial the language is, it may not be stricken.@ U.S. v. Scarpa, 913 F.2d 993, 1013 (2nd

 Cir. 1990) (citing U.S. v. DePalma, 461 F. Supp. 778, 797 (S.D.N.Y. 1978 )).

        Here, the words that Miller seeks to have stricken as surplusage constitute a very

 brief and, in fact, quite insignificant part of the much longer and more detailed charge

 against him in Count 6. Any way you read them, they simply are not prejudicial. There is

 nothing in particular B either substantively or contextually -- that causes this single, isolated

 phrase to stand out or evoke any special concern or attention, certainly not in any

 prejudicial sense. In the context of this prolix indictment, including in particular Count 6,

 this sentence represents a Aneedle in the haystack.@ It is sheer sophistry to believe that a

 jury would likely focus on this isolated, innocuous sentence and then use it as a basis to

 impute to Miller’s detriment any prejudice of the sort argued by defense counsel. He

 asserts that the jury would likely conclude on the basis of this sentence Athat people who

 drive erratically or get paranoid from being followed commit the crimes@ with which they are

 charged or that an erratic driving claim will prompt the jury to impute to Miller a Abad

 reputation . . . based on character habits.@ [Memo in Support of Motion to Strike, p. 3 - 4

 (Dkt. No. 730-1).] In our view, those inferences by a jury are at best a stretch.

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        What matters most here is that the Government has indicated that it intends to prove

 at trial the acts alleged in Overt Act 27 because it is relevant to the conspiracy charged in

 Count 6. If proffered, this evidence would be relevant in that it puts the alleged co-

 conspirators together at this particular time and place during the term of the conspiracy and

 tends to show their shared involvement in activities taken in furtherance of the conspiracy.

 As such, this evidence corroborates the Government=s prosecution theory that these

 defendants, including Miller, were engaged in the charged heroin distribution conspiracy.

 The jury could determine that Miller=s alleged discovery of the surveillance by law

 enforcement prompted his erratic driving, which was an indication of his guilty knowledge

 and his attempt to evade detection and/or to thwart the surveillance. Further, if the

 evidence proffered by the Government at trial shows that Miller’s erratic driving immediately

 preceded the toss out the car window of $6,000 in cash by a passenger in Miller’s car, it is

 further proof of the alleged drug conspiracy by the people traveling with Miller at that time.

 This evidence and these inferences may well be prejudicial to Miller=s defense because

 they are incriminating of him, but they are not unfairly prejudicial so as to warrant their

 being stricken.

        Accordingly, Miller=s Motion to Strike Surplusage is DENIED.

        IT IS SO ORDERED.

 Date: 01/06/2014
                                                            _______________________________
                                                             SARAH EVANS BARKER, JUDGE
                                                             United States District Court
 Copies to:                                                  Southern District of Indiana


 Electronically registered counsel of record via ECF




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